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 6   Attorneys for Creditor and former
     Receiver Michael Burkart
 7

 8                              UNITED STATES BANKRUPTCY COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                         SANTA ROSA DIVISION
11    In re                                                )   Case No.: 18-10415 RLE
      WAREHOUSE WAY ASSOCIATES,                            )
12    LTD.,                                                )   Adv. Proc. No.
                                                           )
13           Debtor.                                       )   COMPLAINT FOR DECLARATORY
                                                           )   RELIEF FOR SUBORDINATION OF
14                                                         )   CLAIMS OF LIMITED PARTNERS
                                                           )   PURSUANT TO 11 U.S.C. § 510
15    MICHAEL BURKART, Creditor and                        )
      Former Receiver for WAREHOUSE WAY                    )
16    ASSOCIATES VIII,                                     )
                                                           )
17                                                         )
                       Plaintiff,                          )
18                                                         )
               vs.                                         )
19                                                         )
      PHILIP J. TERRY; DONALD FRIEND;                      )
20    FRIEND, FRIEND & FRIEND, LLP;                        )
      JOHN D WONG; J.L. SZABO; MANN                        )
21                                                         )
      BALL WONG & MAI KIM WONG;                            )
22    BRIAN KRAFT; JAMES KEN NISHITA,                      )
      TRUSTEE FOR HIDEO NISHITA; PIERI-                    )
23    BRUSSEAU INVESTMENT CO.; LORA                        )
                                                           )
      NANBU, TRUSTEE FOR THE                               )
24
      DOROTHY HOCKING REVOCABLE                            )
25    LIVING TRUST; MARY TOMITA aka                        )
      MARIANNE TOMITA-MCDONALD;                            )
26    ROY WAKIDA; LINDA NANBU; LINDA                       )
                                                           )
27    GREEN, CHAPTER 7 TRUSTEE,                            )
                                                           )
28                     Defendants,                         )

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 1            Plaintiff Michael Burkart, creditor herein and former Court-appointed receiver
 2   (“Receiver”) for Warehouse Way Associates VIII, also known as Warehouse Way
 3   Associates, Ltd. VIII, and Chapter 7 debtor in this case (“Debtor” or “Partnership”) alleges
 4   as follows:
 5                                                       I.

 6                                      JURISDICTION AND VENUE

 7            1.      Jurisdiction of this Court over the instant adversary proceeding is based upon

 8
     28 U.S.C. sections 157 and 1334. This proceeding arises in and relates to the Chapter 7
     bankruptcy case of Warehouse Way Associates VIII, also known as Warehouse Way
 9
     Associates, Ltd. VIII, case number 18-10415 (the "Case"), now pending in this Court.
10
              2.      This adversary proceeding is brought pursuant to Federal Rule of Bankruptcy
11
     Procedure 7001(8), and 11 U.S.C. section 510.
12
              3.      This is a core proceeding within the meaning of 28 U.S.C. sections
13
     157(b)(2)(A), (B) and (O). Venue is proper pursuant to 28 U.S.C. sections 1334 and 1409.
14
              4.      Plaintiff consents to entry of a final order or judgment by the Bankruptcy
15
     Court.
16
                                                        II.
17                                                    PARTIES
18            5.      Plaintiff is informed and believes and thereon alleges that Defendant PHILIP
19   J. TERRY, ESQ. address c/o Carle, Mackle, Power & Ross LLP, 100 B Street, Suite #400,
20   Santa Rosa, CA 95401, is a holder of a general unsecured claim for unpaid legal fees of the
21   Partnership. Defendant TERRY is named as a party to ensure that the court has complete
22   jurisdiction in this matter, and in the event he is a necessary party.
23            6.      Plaintiff is informed and believes and thereon alleges that Defendant

24   DONALD FRIEND holds or held a limited partnership interest in the Partnership, and that,

25   based upon such interest, filed a Proof of Claim in this case.                The address for this
     defendant is 355 Hayes Street, San Francisco, CA 94102, where his principal place of
26
     business is located.
27
28

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 1           7.       Plaintiff is informed and believes and thereon alleges that Defendant
 2   FRIEND, FRIEND & FRIEND, LLP holds or held a limited partnership interest in the
 3   Partnership, and that, based upon such interest, filed a Proof of Claim in this case. The
 4   address for this defendant is 355 Hayes Street, San Francisco, CA 94102, where its
 5   principal place of business is located.

 6           8.       Plaintiff is informed and believes and thereon alleges that Defendant JOHN

 7   D. WONG holds or held a limited partnership interest in the Partnership, and that, based

 8
     upon such interest, filed a Proof of Claim in this case. The address for this defendant is
     517 Trinidad Lane Foster City, CA 94404.
 9
             9.       Plaintiff is informed and believes and thereon alleges that Defendant J.L.
10
     SZABO holds or held a limited partnership interest in the Partnership, and that, based upon
11
     such interest, filed a Proof of Claim in this case. The address for this defendant is 525
12
     Morse Avenue, #101, Sacramento, CA 95864, where his principal place of business is
13
     located.
14
             10.      Plaintiff is informed and believes and thereon alleges that Defendant MANN
15
     BALL WONG & MAI KIM WONG holds or held a limited partnership interest in the
16
     Partnership, and that, based upon such interest, filed a Proof of Claim in this case.       The
17   address for this defendant is 218 Sheila Court, Moraga, CA 94556.
18           11.      Plaintiff is informed and believes and thereon alleges that Defendant BRIAN
19   KRAFT holds or held a limited partnership interest in the Partnership, and that, based upon
20   such interest, filed a Proof of Claim in this case. The address for this defendant is 525
21   Morse Avenue, #101, Sacramento, CA 95864, where his principal place of business is
22   located.
23           12.      Plaintiff is informed and believes and thereon alleges that Defendant James

24   Ken Nishita, as Trustee for HIDEO NISHITA holds or held a limited partnership interest

25   in the Partnership, and that, based upon such interest, filed a Proof of Claim in this case.
     The address for this defendant is c/o James Ken Nishita, Trustee, 77-154 Laelae Street,
26
     Kailua Kona, HI 96740.
27
     ///
28

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 1           13.      Plaintiff is informed and believes and thereon alleges that Defendant PIERI-
 2   BRUSSEAU INVESTMENT CO. is a California general partnership, of which Leonard
 3   Lifford Brusseau is a general partner, and this defendant holds or held a limited partnership
 4   interest in the Partnership, and that, based upon such interest, filed a Proof of Claim in this
 5   case. The address for this defendant is 3120 Pierce Street, Richmond, CA 94804, where

 6   its principal place of business is located.

 7           14.      Plaintiff is informed and believes and thereon alleges that Defendant Lora

 8
     Nanbu, Trustee, as Trustee for the DOROTHY HOCKING REVOCABLE LIVING
     TRUST holds or held a limited partnership interest in the Partnership, and that, based upon
 9
     such interest, filed a Proof of Claim in this case. The address for this defendant is c/o Lora
10
     Nanbu, Trustee, 2205 Shelter Creek Lane, San Bruno, CA 94066.
11
             15.      Plaintiff is informed and believes and thereon alleges that Defendant MARY
12
     TOMITA aka MARIANNE TOMITA-MCDONALD holds or held a limited partnership
13
     interest in the Partnership, and that, based upon such interest, filed a Proof of Claim in this
14
     case. The address for this defendant is c/o Walter Dahl, Esq., 2304 N Street, Sacramento,
15
     CA.
16
             16.      Plaintiff is informed and believes and thereon alleges that Defendant ROY
17   WAKIDA holds or held a limited partnership interest in the Partnership, and that, based
18   upon such interest, filed a Proof of Claim in this case. The address for this defendant is
19   1932 El Dorado Ave., Berkeley, CA 94707.
20           17.      Plaintiff is informed and believes and thereon alleges that Defendant LINDA
21   NANBU holds or held a limited partnership interest in the Partnership, and that, based
22   upon such interest, filed a Proof of Claim in this case. The address for this defendant is
23   2647 44th Ave., San Francisco, CA 94116.

24           18.      LINDA GREEN is the Chapter 7 trustee (“Trustee”) for the Debtor in this

25   case. No relief is requested against the Trustee. The Trustee is named as a party to ensure
     that the court has complete jurisdiction in this matter, and in the event the Trustee is a
26
     necessary party.
27
     ///
28

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 1

 2                                                      III.
 3                                        GENERAL ALLEGATIONS
 4           19.      In 1984, Frank Ribbel (“Ribbel”), Donald A. Friend (“Friend”) and Peter N.
 5   Kawakami (“Peter Kawakami”) prepared and circulated a Private Placement Memorandum

 6   (“PPM”) (comprised of 81 pages including exhibits) for the Partnership. The purpose of

 7   the PPM was to raise $675,000 through the sale of Limited Partnership Interests offered in

 8
     27 Units in the amount of $25,000.00 each, to acquire and hold for investment a four-unit
     industrial warehouse complex commonly known as “Alpine Business Center” and located
 9
     on Alpine Avenue in Sacramento, CA.
10
             20.      Shortly thereafter, Ribbel, Friend and Peter Kawakami as general partners
11
     (“General Partners”) executed a Certificate of Limited Partnership for Warehouse Way
12
     Associates VIII and recorded it with the Sacramento County Recorder on March 30, 1984.
13
     Using funds raised from the sale of limited partner interests, the General Partners
14
     negotiated the purchase of a 4.73-acre parcel of property commonly known as 8200, 8210,
15
     8220 and 8230 Alpine Avenue, Sacramento, California, improved with four detached
16
     industrial buildings totaling 103,600 square feet (the “Property”).
17           21.      The General Partners executed a First Amendment to Certificate of Limited
18   Partnership and recorded it with Sacramento County recorder on September 10, 1984, to
19   amend the name of the limited partnership to Warehouse Way Associates, Ltd. VIII, and to
20   designate the names of Partners and their capital contributions as follows:
21           22.      General Partner Peter N. Kawakami passed away on April 3, 1994. Donald
22   Friend withdrew as general partner in 2000, leaving Ribbel as the sole remaining general
23   partner.

24           23.      The term of Partnership Agreement was stated to be 30 years, and it expired

25   on March 28, 2014 (March 28, 1984 to March 28, 2014). See Paragraph 7 of the Limited
     Partnership Agreement. Ribbel, the sole remaining general partner, did nothing in 2014 to
26
     notify the limited partners nor to reorganize the Partnership.
27
             24.      The Partnership Agreement at paragraph 22.2 provides for dissolution and
28

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 1   termination of the Partnership as follows:
 2                  22.2 Upon a dissolution and termination of the Partnership for any
                    reason, the General Partners shall take full account of the Partnership
 3                  assets and liabilities, and shall apply and distribute the Partnership
                    assets in the following order:
 4
                            (a) To the payment of creditors of the Partnership in order of
 5                  priority provided by law, . . . .
 6          25.     California limited partnership law provides at Corporations Code §
 7   15908.09(a):
 8                  (a) In winding up a limited partnership’s activities, the assets of the limited
                    partnership, including the contributions required by this section, must be
 9                  applied to satisfy the limited partnership’s obligations to creditors,
                    including to the extent permitted by law, partners that are creditors.
10                  [Emphasis added.]
11                  (b) Any surplus remaining after the limited partnership complies with
                    subdivision (a) must be returned to the partners as they share in distributions.
12
                    The Corporations Code goes on to provide in section (c) for “contributions”
13
     by the general partner to pay unsatisfied creditors’ claims under section (a) and sets out
14
     requirements, if the contributions are not made and recovery from partners who fail to
15
     make contributions.       Thus, limited partners of the Partnership by the Partnership
16   Agreement and by California Limited Partnership law share in the liquidation of assets of
17   the Partnership after creditors receive payment.
18          26.     The general status of the bankruptcy case is summarized by the Trustee in
19   her Motion for Final Compensation at Dkt No. 207 at page 2 lines 5-17 as follows:
20                  The Debtor was a long-standing limited partnership which (sic.)
                    owned an industrial building near Sacramento, which it sold
21                  approximately one year before the Petition Date. The Debtor’s sole
22                  remaining general partner, an individual named Frank Ribbel, was
                    impaired for many years prior to the sale and passed away
23                  approximately six months after the property was sold. Mr. Ribbel
                    made excessive distributions to himself and ignored repeated
24                  requests for accountings by his limited partners. Two disgruntled
                    limited partners filed an action in Sacramento Superior Court to
25
                    dissolve the partnership and appoint a receiver. The receiver’s
26                  appointment was later voided for failure to post a proper bond.1 At

27
     1
28     The receiver posted a proper bond. It was the plaintiffs that obtained an ex parte appointment of
     the receiver that failed to post a property bond.
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 1                     that point, an involuntary petition for relief was filed in this Court.
                       [Counsel for the Trustee] assisted the Trustee in sorting out the
 2
                       Debtor’s affairs, and through hard fought litigation, recovered
 3                     approximately $980,000 in “new money”, and finally assisted the
                       Trustee in scheduling an equitable distribution of the remaining
 4                     assets of the Debtor to parties in interest. Movant is informed and
                       believes that these efforts will result in a dividend to unsecured
 5                     creditors in this case of approximately 50% of their allowed claims.
 6
              27.      Certain former limited partners of the Debtor have filed claims in this
 7
     bankruptcy case. Set forth below is a chart that accurately summarizes the state of the
 8
     claims register and the status of the proofs of claim filed in this case:
 9
      Claim     Creditor’s Name                       Date Filed Priority     General       Limited
10    No.                                                                    Unsecured      Partner
        1       Philip J. Terry (legal fees)           8/17/18                14,620.29
11     2-2      Donald Friend                          9/26/18                               393,820.00
12     3-2      Friend, Friend & Friend                9/26/18                               228,908.00
       4-2      John D. Wong                          10/05/18                                22,353.00
13     5-2      J. L. Szabo                           10/13/18                               135,409.00
       6-2      Mann Ball Wong &                      10/15/18                                16,898.00
14              Mai Kim Wong
15       7      Franchise Tax Board                   10/16/18      800.00
         8      Brian Kraft (Duplicate)               10/21/18                                     0.00
16      9-2     Hideo Nishita                         10/22/18                                43,102.00
        10      Hideo Nishita (Duplicate)             10/24/18                                     0.00
17              (Claim withdrawn on 2/12/19)
        11      Brian Kraft                           10/23/18                               135,411.00
18
        12      Piere-Brusseau Invest                 11/05/18                                  TBD
19              (Amount indicated to be
                determined)
20     13-2     Dorothy Hocking Trust                 11/05/18                                 69,447.00
        14      Michael Burkart                       11/05/18                125,000.00            0.00
21
       15-2     Marianne Tomita-McDonald              11/07/18                                 60,390.00
22      16      Roy Wakida                            11/07/18                                 23,142.00
        17      Linda Nanbu (Late)                    02/13/19                                 89,780.00
23                        TOTALS                                   $800.00   $139,620.29   $1,218,660.00
24
                                                         IV.
25
                                       FIRST CLAIM FOR RELIEF
26                                          Declaratory Relief
27                  Subordination of Limited Partner Claims to General Creditor Claims

28            28.      Plaintiff realleges paragraphs 1 through 27 of this complaint as though set
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 1   forth herein fully.
 2           29.      Each of the claims asserted by limited partners or former limited partners in
 3   this case (Claim Nos. 2, 3, 4, 5, 6, 8, 9, 10, 11, 12, 13, 15, 16 and 17) (collectively,
 4   “Limited Partner Claims”) is a claim arising from (1) the purchase or sale, or (2) the
 5   rescission of a purchase or sale, of a security of the Debtor, or (3) is a claim for damages

 6   arising from the purchase or sale of such a security, or (4) is a claim for reimbursement or

 7   contribution allowed under 11 U.S.C. section 502 on account of such a claim. As a result,

 8
     each such Limited Partner Claims “shall be subordinated to all claims or interests that are
     senior to or equal the claim or interest represented by such security” pursuant to 11 U.S.C.
 9
     § 510(b).
10
             30.      The Receiver has an allowed claim (claim No. 14) arising from services
11
     performed as a court-appointed receiver of the Debtor. As a general unsecured creditor
12
     claim that does not arise from an equity interest or the sale of a limited partnership interest,
13
     such claim is senior to the Limited Partner Claims as required by 11 U.S.C. § 510(b).
14
             31.      The Trustee has informed the Receiver through counsel that she disputes that
15
     subordination applies in this case, and that she intends to propose pro rata distribution
16
     among the Limited Partner Claims and the non-equity based unsecured creditors.
17           32.      An actual controversy has arisen and now exists between Plaintiff and
18   Defendants concerning their respective rights and duties, in that Plaintiff contends, and
19   Defendants dispute, that Plaintiff is entitled to payment of his claim prior to payment on
20   account of the Limited Partner Claims.
21           33.      A judicial declaration is necessary and appropriate at this time and under the
22   circumstances in order that Plaintiff and Defendants may ascertain their rights and duties
23   with respect to the subordination of claims under 11 U.S.C. § 510(b).

24           34.      Plaintiff seeks a declaration that it holds a claim entitled to be paid with

25   priority over Defendants’ claims.
     ///
26
     ///
27
     ///
28

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 1            WHEREFORE, Plaintiff prays for judgment as follows:
 2            On the First Cause of Action:
 3            1.      For a judicial declaration that it holds a claim entitled to be paid with priority
 4   over Defendants’ claims under 11 U.S.C. § 510(b)
 5            On All Causes of Action:

 6            2.      For costs of suit;

 7            3.      For such other and further relief as deemed equitable or appropriate by the

 8
     court.
     Dated: February 26, 2020                 PARKINSON PHINNEY
 9
                                              By: /s/ Donna T. Parkinson
10
                                                     Donna T. Parkinson
11                                                   Thomas R. Phinney
                                                     Counsel for Michael Burkart,
12                                                   Creditor and former Receiver

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